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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,        )
on behalf of itself and all others         )
similarly situated,                        )
     Plaintiff                             )
                                           ) C.A. No. 11-10230-MLW
             v.                            )
                                           )
STATE STREET BANK AND TRUST COMPANY,       )
     Defendants.                           )

ARNOLD HENRIQUEZ, MICHAEL T.               )
COHN,WILLIAM R. TAYLOR, RICHARD A.         )
SUTHERLAND, and those similarly            )
situated,                                  )
     Plaintiff                             )
                                           )
             v.                            ) C.A. No. 11-12049-MLW
                                           )
STATE STREET BANK AND TRUST COMPANY,       )
     Defendants.                           )

THE ANDOVER COMPANIES EMPLOYEE             )
SAVINGS AND PROFIT SHARING PLAN, on        )
behalf of itself, and JAMES                )
PEHOUSHEK-STANGELAND and all others        )
similarly situated,                        )
     Plaintiff                             )
                                           )
             v.                            ) C.A. No. 12-11698-MLW
                                           )
STATE STREET BANK AND TRUST COMPANY,       )
     Defendants.                           )

                         MEMORANDUM AND ORDER

     WOLF, D.J.                                            June 29, 2020

     After   reading   the   appellant's   brief   of   Lieff,   Cabraser,

Heimann & Bernstein ("Lieff"), this court issued its June 18, 2020

Memorandum and Order stating its belief that the First Circuit
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would     benefit   from      an   adversarial   presentation     by   counsel

concerning Lieff's appeal of the fee award made to it in this

court's February 27, 2020 Memorandum and Order (the "February 27,

2020 Order"). See Dkt. No. 611; Arkansas Teacher Ret. Sys. v. State

St. Bank & Tr. Co., No. 20-1365 (1st Cir.), Doc. No. 00117604870,

at 76.

     The Master in this case, Retired United States District Court

Judge Gerald Rosen, had earlier recommended that the court appoint

counsel to oppose the appeal and that Lieff be required to pay the

cost of such counsel. See Dkt. No. 599 at 13. Lieff objected to

the appointment of counsel by this court and to the imposition of

the cost of any such counsel on it. See Dkt. No. 600.

     In    the   June   18,    2020   Memorandum   and   Order,   this   court

expressed its intent to retain counsel to assure that the interests

of the class are represented in the First Circuit, and stated that

it did not intend to impose the cost of such counsel on Lieff or

any other attorneys in this case. See Dkt. No. 611 at 3. The

Administrative Office of the United States Courts has informed the

court that it will pay for counsel that the court, as fiduciary

for the class' interests, retains in connection with Lieff's appeal

if the First Circuit agrees that such representation would be

helpful and requests that the court retain counsel to provide it.

Therefore, the court is now asking that the First Circuit do so.



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      As explained in the February 27, 2020 Order, in awarding

attorneys' fees in this case, the court was required to act as a

fiduciary for the class because there was no party that would,

with undivided loyalty, represent its interests. See Dkt. No. 590

at 34. As the First Circuit has written, "the district court,

called upon to make awards of fees and/or expenses in [a class

action], functions as a quasi-fiduciary to safeguard the corpus of

the   fund      for    the    benefit   of       the    plaintiff   class."   In    re

Fidelity/Micron Secs. Litig., 167 F.3d 735, 736 (1st Cir. 1999).

Other circuits "have gone so far as to term the district judge in

the settlement phase of a class action suit a fiduciary of the

class . . . ." Reynolds v. Beneficial Nat'l Bank, 288 F.3d 277,

279-80 (7th Cir. 2002) (citing, among other cases, In re Cendant

Corp. Litig., 264 F.3d 201, 231 (3d Cir. 2001); Grant v. Bethlehem

Steel Corp., 823 F.2d 20, 22 (2d Cir. 1987)). See also 4 William

B. Rubenstein, Newberg on Class Actions §13:40 (5th ed. June 2020

Update) ("[A]t the settlement of a class suit, the law requires

the judge to act as a fiduciary . . . ."). 1

      As the court wrote in the February 27, 2020 Order, "[t]his

fiduciary       duty    can    be   difficult          to   discharge   because    'the




      1 Professor Rubenstein was retained by Lieff to provide a
Declaration as an expert to this court in this case. See Dkt. No.
368.

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presentation       of    the    settlement       for     judicial     approval   is

nonadversarial      in   nature:    the   prior       competing     parties   (class

counsel and the defendants) have resolved their differences and

are now in harmony in seeking the court's approval.' [Rubenstein,

supra, §13:40]." Dkt. No. 590 at 34. "Hence, the court often lacks

the information necessary to make a truly informed decision."

Rubenstein, supra, §13:40. Indeed, as Lieff's counsel on appeal

Samuel Issacharoff has written, "[p]erhaps in no other contexts do

we find courts entertaining binding decrees with such a complete

lack of access to quality information and so completely dependent

on the parties who have the most to gain from favorable court

action." Samuel Issacharoff, Class Action Conflicts, 30 U.C. Davis

L. Rev. 805, 808 (1997).

     After    having     vacated    the       original    $74,541,250    award   of

attorneys' fees, in the February 27, 2020 Order the court awarded

counsel a total of $60,000,000. See Dkt. No. 590 at 13-15, 158. In

exercising its authority to allocate these fees among counsel, the

court reduced the award to Labaton Sucharow LLP ("Labaton") by

more than $9,500,000, to $22,202,131; reduced the award to The

Thornton     Law    Firm       ("Thornton")      by      about    $6,500,000,    to




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$13,261,908; and reduced the award to Lieff by $1,139,457, to

$15,233,397. See Dkt. No. 590-1 at 3. 2

     Neither Labaton nor Thornton appealed. Lieff also has not

appealed the reduction of the total fee award to $60,000,000.

However, characterizing the court's decision as an improperly

imposed sanction for a violation of Federal Rule of Civil Procedure

11(b), Lieff has appealed the reduction of the fee awarded to it.

Lieff     names   Labaton   and   Thornton    as   "Interested    Parties   –

Appellees." See Arkansas Teacher Ret. Sys. v. State St. Bank & Tr.

Co., No. 20-1365 (1st Cir.), Doc. No. 0117599876 at 1. 3 However,

in view of the court's findings concerning their conduct, and the

reduction of their fees, which benefitted the class greatly,

Labaton and Thornton cannot be expected to represent the interests

of the class, or the court as fiduciary for it, in Lieff's appeal.

Indeed, in filing its appearance in the First Circuit Labaton

stated that it "does not stand in the traditional position of




     2  The $15,233,397 that the court awarded to Lieff is
$2,448,678 more than the Master recommended it receive. See Dkt.
No. 590-1 at 3.
     3  Three firms which represented an ERISA class and received
much more modest fee awards than Labaton, Thornton, and Lieff are
also named by Lieff as "Interested Parties-Appellees." They were
not involved in the conduct that resulted in Lieff's appeal and
played only minor roles in the fee litigation before this court.
They are unlikely to be willing or, as a practical matter, to be
able to represent the class effectively on appeal. In any event,
none of them have asked to do so.

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appellee in that, while it reserves the right to respond to

positions taken by appellant as and if necessary, it does not

anticipate filing a full opposition brief addressing all subjects

raised by appellant." Arkansas Teacher Ret. Sys. v. State St. Bank

& Tr. Co., No. 20-1365 (1st Cir.), Doc. No. 00117576185.

      As described in detail in the February 27, 2020 Order, the

issues that it addresses arose in meaningful measure because the

usual adversary process did not operate to test representations

and   properly   inform   the   court   when   it   made   its   initial,

subsequently vacated award of attorneys' fees. Having read Lieff's

appellate brief, the court believes that it would be valuable for

the First Circuit to have this court, as fiduciary for the class,

retain counsel to supplement the record, and to address issues of

fact and law that will be important to the First Circuit's ability

to make a properly informed decision concerning Lieff's appeal.

      Therefore, the court requests that the First Circuit invite

or order it to retain counsel to appear on behalf of the court as

fiduciary for the class, cf. Fed. R. App. P. 21(b)(4); to provide

a reasonable period of time for such counsel to file an appearance;

and to postpone the July 8, 2020 deadline for the filing of

appellees' brief until counsel for the court as fiduciary for the

class appear and propose an appropriate briefing schedule.




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     Accordingly, it is hereby ORDERED that this Memorandum and

Order be transmitted forthwith to the Clerk of the First Circuit.




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